2:20-cr-00527-RMG   Date Filed 09/08/20   Entry Number 4       Page 1 of 7




                                                 2:20-cr-527
2:20-cr-00527-RMG   Date Filed 09/08/20   Entry Number 4   Page 2 of 7
2:20-cr-00527-RMG   Date Filed 09/08/20   Entry Number 4   Page 3 of 7
2:20-cr-00527-RMG   Date Filed 09/08/20   Entry Number 4   Page 4 of 7
2:20-cr-00527-RMG   Date Filed 09/08/20   Entry Number 4   Page 5 of 7
2:20-cr-00527-RMG   Date Filed 09/08/20   Entry Number 4   Page 6 of 7
2:20-cr-00527-RMG   Date Filed 09/08/20   Entry Number 4   Page 7 of 7
